Case 1:05-cv-01083-.]DT-STA Document 24 Filed 06/13/05 Page 1 of 6 Page|D 15
UNITF.D STATEs DISTRICT CoUR'r

EASTERN DlsTRiCT oF LouislANA
OFFICE oF THE CLERK

LoRRETTA G. WHYTE 500 PoYDRAs ST., SUiTE C-151
CLERK NEW ORLEANS, LA 70130

June 3, 2005

Robert Di Trolio, Clerk
United States District Court
Western District of Tennessee
167 N. Main St., Room 242
Memphis, TN 381 03

 

In Re: MDL 1657 Vioxx Products Liability Litigation L (3)

Dear Mr. Trolio:

Enclosed are certified copies of a transfer order received from the Multidistrict Litigation Panel
in Washington, D.C. It instructs that the cases listed on the attached page be transferred to our district
for disposition pursuant to Title 28 USC 1407, as soon as possible. Our office has assigned new civil
action numbers to these cases as referenced on the attached page.

DO NOT FORWARD THE ORIGINAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Court Judge issued an order directing that the transfer of records consist of only a certified
copy of the complaint (including notice of removal, if applicable), any amendments, the docket sheet
and the MDL Transfer Order, together with a copy of the transfer letter be forwarded to the transferor
court.

Due to the high volume of cases involved in this litigation please provide paper copies of
the above documents instead of simplv referring to your website. Your prompt attention in this
matter is greatly appreciated

Should you have any questions regarding this request, please contact Dina Guilbeau at
(504)589-7704.

Very truly yours,

Loretta GIyte, Clerk

Deputy Clerk

Enclosures
cc: Judicial Panel on Multidistrict Litigation

a”\

OS- 10%3

Case 1:05-cv-01083-.]DT-STA Document 24 Filed 06/13/05 Page 2 of 6 Page|D 16

 

 

 

Your Case Nos. Case Title Our Case Nos.

1105-1083 Charles R. Dailey, Sr., et al v. Merck & Co., Inc. 05-2054 L (3D
:03-1054 Gerald D. Riley, et al v. Merck & Co., Inc., et al 05-2055 L (3)

l:05-1089 Larry L. Peter, et al v. Merck & Co., Inc., et al 05-2056 L (3)

1:05-1095 Shirley F. Sanders v. Merck & Co., Inc., et al 05-2057 L (3)

   

j ,T sTA_ r;t§§§ §H§@M Qi[li§iii§e/la/os Page 3 of 6 Pagelo 17

JU
2005 sat 21 rs \= 52 MUL ,.§,'Sf>;gm ~Et

LIT|GA¥ION
rossi m s, watts MAY _5 2005
areas H
DocKEr No. 1657 LED

CLEHK' S oFi=icE
` § IAL PANEL ON MUL TIDISTRICT LITIGA TION

INRE WOXXPRODUCTS LIABILITYLITIGATION
(SEE A TTA CHED SCHED ULE)
CONDITIONAL TRANSFER ORDER (CTO-9)

On February l6, 2005, the Panel transferred 138 civil actions to the United States District Court for the
Eastern District of Louisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.
§ 1407. Since that time, 350 additional actions have been transferred to the Eastern District of`

Louisiana. With the consent of'that court, all such actions have been assigned to the Honorable Eldon E.
Fallon.

lt appears that the actions on this conditional transfer order involve questions of fact which are common
to the actions previously transferred to the Eastern District of Louisiana and assigned to ludge Fallon.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistrict Litigation, 199
F.R.D. 425, 43 5-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Eastern District
of Louisiana for the reasons stated in the order of` February 16, 2005, ____F_F.Supp.Zd_ (J.P.M.L.
2005), and, with the consent of that court, assigned to the I-Ionorable Eldon E. Failon.

Thjs order does not become effective until it is filed in the Off`ice of the Clerk of the United States
District Court for the Eastern District of Louisiana. The transmittal of this order to said Clerk Shall be

stayed fifteen (15) days nom the entry thereof and if any party files a notice of opposition with the Clerk
of the Panel within this fifteen (15) day period, the stay Will be continued until further order of the Panel.

FOR THE PANEL:

W Q.@a¢,k_

Michael J. Beck

 

 

 

 

 

 

 

 

 

 

 

 

Clc:‘A£-the-Band_’
l
inasmuch as no objection is CLERK S OFF|CE
pending at this time, the A TRUE COP¥
stay is lifted. .
2005 __“..
MAY 2 3 2005 MFALH _ i=@s_.________
__ Proa¢.-.ss "
Deputy C|erk, U. S. District Court X fled
CLERK'S OFFICE Eastern District of Louisiana mansz "~

JUDtCIAL PANEL ON New Or|eans LA __.Cac No _'P:~'

MULT\D|STR\CT LlT|GATlON

 

 

 

 

‘05~ l 00'?,)

Case 1:05-cv-01083-.]DT-STA Document 24 Filed 06/13/05 Page 4 of 6 Page|D 18

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION
Robert R. Di Trolio ii 1 south Highiand Ave., Room 262
Clel'k Of COU.I't Jackson, Tennessee 38301

731-421-9200
731-421-9210 Fax

.lune l4, 2005

United States District Court
Eastern District of Lousiana
500 Poydras St., Room C-lSl
New Orleans, LA 701 30

RE: Charles R. Dailey, Sr., Et al., vs. Merck & Co., lnc., Et al.,
05-2054 L (3) -Your Case No.
05-1083 T/An -Our Case No.

Dear Clerk:

Pursuant to the Conditional Transfer Order (CTO-9) the above referenced case has been transferred to the
United States District Court for the Eastern District of Louisiana . Please find enclosed a certified copy of
the Notice of Removal, Lower Court Complaint, Docl<et Sheet, MDL Transfer Order, and a copy of the
transfer letter to the transferor court. I am also enclosing a copy of this cover letter and requesting that you
acknowledge receipt and return it to our office in the provided envelope Thank you for your attention in
this matter

Robert R. Di Trolio, Clerk

BY; ®M\@i/\& M

Deputy Clerk

ENCLOSURES

 

DisrRicr oURT - w

ESTENR Di

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 1:05-CV-01083 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

ESSEE

 

Joseph R. Alexander
l\/HTHOFF LAW FIRM
One Allen Center Penthouse
500 Dallas

Houston, TX 77002

Buffey Klein

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

l\/lemphis7 TN 38103

Pam Warnock Green

MCNABB BRAGORGOS & BURGESS, PLLC
81 Monroe Ave.

SiXth Floor

l\/lemphis7 TN 38103--540

.l ames M. Doran

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

.l ames L. Wright
MACCABE & MCGUIRE
77 W. Wacker Dr.

Ste. 3333

Chicago, IL 60601

Lela M. Hollabaugh

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Case 1:05-cv-01083-.]DT-STA Document 24

T. Robert Hill

H[LL BOREN

1269 N. Highland Ave.
Jacl<son, TN 38303--053

Thomas F. Preston

MCNABB BRAGORGOS & BURGESS, PLLC
81 Monroe Ave.

SiXth Floor

l\/lemphis7 TN 38103--540

Steven G. Ohrvall

H[LL BOREN- .lacl<son
1269 N. Highland Ave.
P.O. Box 3539

Jacl<son, TN 38303--353

Stephen P. Hale

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

l\/lemphis7 TN 38103

Honorable .l ames Todd
US DISTRICT COURT

Filed 06/13/05 Page 6 of 6 Page|D 20

